 

 

Case 2:14-CV-08127-W.]I\/|-I\/|F Dooument 56 Filed 11/23/15 Page 1 of 59 Page|D: 596

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

JAGDISH PATEL and KISHAN PATEL,
Plaintiffs/Counterclaim-Defenda.nts,
v. § Civil Action No. 14-cv-08127 (WJM) (MF)

JIGNESH PANDYA; KRUPA PATEL; JNP CIVIL ACTION
FOODS LLC; RONAK FOODS, LLC; l

ROHAN PROPERTIES, LLC', SHREE

SIDDHIVINAYAK, LLC; HARIDRA, LLC;

SRI PRATHAMESH, LLC; CT PIZZA, LLC;

EDISON PIZZA, LLC; RONAK FOODS ,
MANAGEMENT, LLC, ROHAN GROUP OF

COMPANIES, JOHN/JANE DOES l-lO, and

XYZ COMPANIES l-lO,

Defendants.

 

 

DEFENDANTS’ ANSWER AND DEFENSES TO PLAINTIFFS’ AMENDED
COMPLAINT AND AMENDED COUNTERCLAIMS
AND AMENDED DESIGNATION OF TRIAL COUNSEL

 

Defendants Jignesh Pandya, Krupa Patel, JNP Foods, LLC, Ronak Foods, LLC, Rohan
Properties, LLC, Shree Siddhivinayak, LLC, Haridra, LLC, SRI Prathamesh, LLC, CT Pizza,
LLC, Edison Pizza, LLC, Ronak Foods Management, LLC, and Rohan Group of Companies
(hereinafter sometimes referred to collectively as “Defendants”), by and through their counsel,

answer the allegations in Plaintiffs’ Amended Complaint as follows:

 

 

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2.

this paragraph
3.

this paragraph
4.

5.

lO.
ll.
12.

l3.

INTRODUCTION

Denied

PARTIES

Plaintiffs are Without sufficient information to admit or deny the allegations of

Plaintiffs are Without sufficient information to admit or deny the allegations of

Admitted.
Admitted.
Admitted.
Admitted.
Admitted.
Admitted.
Admitted.
Admitted.
Admitted.

Admitted that Edison Pizza is not incorporated The remaining allegations of this

paragraph are denied

14.
this paragraph,

business at the

Defendants are Without sufficient information to admit or deny the allegations of
except that the allegations in l4(a) are admitted and that Rohan Group does

address set forth in 1ll4(b).

 

 

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JURISDICTION AND VENUE
15. This paragraph sets forth a conclusion of law to Which no response is required
To the extent a response is required, the allegations of this paragraph are denied
l6. This paragraph sets forth a conclusion of law of Which no response is required
To the extent a response is required, the allegations of this paragraph are denied
l7. This paragraph sets forth a conclusion to law of Which no response is required

To the extent a response is required, the allegations of this paragraph are denied

w
18. Denied.
l9. Denied.
20. Denied.
21 . Denied.
22. Denied. ~

23. Admitted that Mr. Pandya had never met Jagdish Patel prior to late 2010 and that
the first meeting took place at a party held in New Jersey.

24. Defendants are Without sufficient information to admit or deny Whether Jagdish
Patel Was “impressed” With Mr. Pandya.

25. Admitted that Jagdish Patel informed Mr. Pandya at this first meeting that he
Would like to go into business With Mr. Pandya. The remaining allegations of this paragraph are
denied

26. Admitted that Mr. Pandya and Jagdish Patel ate together at restaurants and
became friendly. By Way of further response, Jagdish Patel repeatedly requested meetings With

Mr. Pandya during Which he Would repeated brag about his own success and offered his

 

 

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influence to have Mr. Pandya appointed to a position in the Federation of India Association. The
remaining allegations of this paragraph are denied

27. Denied

28. Admitted that Jagdish Patel visited Mr. Pandya’s office in Pennsylvania. The
remaining allegations of this paragraph are denied

29. Admitted that Mr. Pandya did not need partners The remaining allegations of
this paragraph are denied

30. Denied.

3 l. Denied as stated By way of further response, Jagdish Patel requested that Mr.
Pandya allow sell part of his ownership interest in CT PiZZa to his son Kishan Patel.
Independent of this potential transaction, Mr. Pandya was negotiating with Pizza Hut to develop
and open additional PiZZa Hut locations in Connecticut in order to increase his foothold in the
Connecticut market. When Jagdish Patel learned of this, Jagdish Patel asked Mr. Pandya to
allow him to be involved in the development of these new franchise locations and proclaimed to
have an expertise in opening new franchise locations Jagdish Patel promised to contribute funds
needed for the new locations if Mr. Pandya would allow it.

32. Denied as stated By way of further response, the parties agreed that Mr. Pandya
would own 75% of CT Pizza and that Kishan Patel would own 25%.

33. Denied.

34. Denied. By way of further response, the Patels had full and complete access to all
records of the locations to be purchased and performed their own due diligence, a fact that

Jagdish Patel confirmed in writing.

 

 

 

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35 . Admitted that Mr. Pandya e-mailed to Jagdish Patel a proforma that had been
prepared by a third party for the nine existing Pizza Hut franchises that CT Pizza was
considering acquiring The remaining allegations of this paragraph are denied

36. The allegations of this paragraph refer to a writing prepared by a third party, the
terms of which speak for themselves

37. Denied. By way of further response, the Patels had full and complete access to all
records of the locations to be purchased and performed their own due diligence, a fact that
Jagdish Patel confirmed in writing

38. Denied as stated By way of further response, Mr. Pandya offered to Jagdish
Patel, after CT Pizza purchased the franchise locations, that he could contact Krupa Patel if he

had any questions

39. Denied.
40. Denied.
41 . Denied.
42. Denied.

43. Admitted that the Patels agreed that Kishan Patel would become a member of CT
Pizza. The remaining allegations of this paragraph are denied

44. Admitted that Mr. Pandya formed CT Pizza. The remaining allegations of this
paragraph are denied

45. Denied.

46. Admitted that Kishan Patel wrote a check that was used to partially fund his
purchase of a 25 % membership interest in CT Pizza. The remaining allegations of this paragraph

are denied

 

 

 

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47.

Denied as stated By way of further response, Plaintiffs’ payment of $350,000

was used to partially fund Kishan Patel’s purchase of a 25% interest in CT Pizza.

48.

49.

50.

51.

Denied.
Denied.
Denied.

Admitth that, consistent with disclosures in the Operating Agreement, CT Pizza

retained a management company owned by Mr. Pandya to manage Pizza Hut franchise locations

owned by CT Pizza. The remaining allegations of this paragraph are denied

52.

53.

54.

55.

56.

57.

Denied.
Admitted.
Denied.
Denied.
Denied.

Denied. By way of further response, the Patels’ legal counsel, Max Rutkanski, is

handled the issues related to the liquor license transfers and, upon information and belief,

reported directly to the Patels on these issues

58.

59.

60.

Denied.
Denied.

Denied as stated By way of further response, funds were wire transferred

in or around August 2011 to complete Kishan Patel’s purchase of a 25% interest in CT

Pizza. Upon information and belief, those funds were transferred from an account in the

name of Sweta Patel.

61.

Denied.

 

 

 

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62. Denied as stated By way of further response, when Jagdish Patel learned
that Mr. Pandya intended to attend a Pizza Hut convention, Jagdish Patel stated that he
wanted to attend Mr. Pandya advised Jagdish Patel that because Mr. Patel was not an
owner, he did not see the purpose in this desired attendance Mr. Patel continued to
pursue the issue, stating that he wanted to attend because he could not attend other
conventions and wanted to feel good about himself. After Jagdish Patel’s relentless
efforts, Mr. Pandya agreed to take Jagdish Patel as his guest.

63. Denied. By way of further response, Jagdish Patel learned that Mr. Pandya
was communicating with Mr. McCoy about the possibility of purchasing Pizza Hut
franchise locations in New Jersey. Jagdish Patel then pursued Mr. Pandya and repeatedly
stated that he desired to be an owner in New Jersey so that he could restore his credibility
and reputation in the community.

64. Denied.

65. Defendants are without sufficient information to admit or deny the
allegations of this paragraph

66. Admitted that Mr. Pandya saw Mr. McCoy at the convention and pointed
him out to Jagdish Patel. The remaining allegations of this paragraph are denied

67 . Admitted that Mr. Pandya spoke with Mr. McCoy at a Pizza Hut
Convention. The remaining allegations of this paragraph are denied

68. Admitted that Mr. Pandya spoke with Mr. McCoy at a Pizza Hut

Convention. The remaining allegations of this paragraph are denied

 

 

 

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69. Admitted that Mr. Pandya had a conversation with Hal McCoy at a Pizza Hut
Convention. Plaintiff is without sufficient information to admit or deny the remaining

allegations of this paragraph

70. Denied.
7l. Denied.
72. Denied.
73. Denied.

7 4. Admitted that Mr. Pandya performed due diligence on the potential to purchase
Pizza Hut franchises in New Jersey and provided information to Plaintiffs. The remaining
allegations of this paragraph are denied

7 5. Denied.

76. Admitted that Jagdish Patel expressed a desire to jointly own an entity with
Mr. Pandya that would acquire Pizza Hut franchises in New Jersey. The remaining
allegations of this paragraph are denied

77 . The allegations of this paragraph refer to a writing, the terms of which
speak for themselves

78. The allegations of this paragraph refer to a writing, the terms of which
speak for themselves

79. Denied as stated By way of further response, Jagdish Patel gave Mr.
Pandya a check in the amount of $295,000 with instructions that the funds could be
applied to CT Pizza if needed Jagdish Patel subsequently sent Mr. Pandya an e-mail

stating he would invest $l million in a New Jersey venture if it came to fruition.

 

 

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80. Admitted that Jagdish Patel stated that he would like to own a percentage
that was larger than 25% if the parties were able to acquire Pizza Hut franchises in New
Jersey.

81. Denied as Stated By way of further response, the parties discussed what
the ownership percentage might be if they were to acquire Pizza Hut franchise locations
in New Jersey. That deal never finalized

82. Denied as stated By way of further response, Jagdish Patel gave a check
for $185,000 to Mr. Pandya with instructions that the funds could be used for CT Pizza.

83. Denied as stated By way of further response, Jagdish Patel gave a check
for $185,000 to Mr. Pandya with instructions that the funds could be used for CT Pizza.

84. Denied.

85. Admitted that Edison Pizza was not incorporated The remaining allegations Of
this paragraph are denied

86. Admitted that neither Mr. Pandya nor Mr. Patel entered into a deal with Hal
McCoy to acquire any Pizza Hut franchises in New Jersey.

87 . Admitted that Mr. Pandya never deposited money into the trust account of Robert
Nathan, Esquire to acquire any Pizza Hut franchises in New Jersey.

88. Denied.

89. Denied.

90. Admitted that Kishan Patel received $34,000 in dividends from CT Pizza in 2012.

The remaining allegations of this paragraph are denied

91 . Denied.

 

 

 

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92. Admitted that CT Pizza began losing money and that the company sought capital
contributions from all members The remaining allegations of this paragraph are denied

93. Denied as stated By way of further response, CT Pizza suffered losses due to a
fire at the West Hartford location and Hurricane Sandy, which disrupted business and caused
damages In addition, Mr. Pandya advised the Patels that the store locations needed to be
remodeled and monies Spent to attract customers Mr. Pandya further advised the Patels that
competition in the area had stepped up, which Mr. Pandya believed required building additional
locations so that customers would see more Pizza Hut locations in the re gion. The remaining
allegations of this paragraph are denied

94. Admitted that at certain times Plaintiffs made demands to review financial records

and that those records were made available. The remaining allegations of this paragraph are

denied
95. Denied.
96. Denied.
97. Denied.
98. Denied.
99. Denied.
100. Denied.

101. Admitted that Plaintiffs have requested copies of various CT Pizza records The
remaining allegations of this paragraph are denied

1 02. Denied.

103. Admitted that Plaintiffs made unjustified demand for the return of certain monies

The remaining allegations of this paragraph are denied

10

 

 

 

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104. Admitted that Mr. Pandya justifiably declined to return money to the Patels

because there was no basis to return it.

105. Denied.
106. Denied.
107. Denied.

108. Admitted that Plaintiffs made unjustified demand for return of certain monies and
that Mr. Pandya justifiably declined to do so because there was no basis to return it. The

remaining allegations 0f this paragraph are denied

109. Denied.
l 10. Denied.
l 1 1 . Denied.
l 12. Denied.

113. Admitted that some of the entities identified in paragraph 109 have common
ownership The remaining allegations of this paragraph are denied

FIRST CLAIM FOR RELIEF
(Fraud)

114. Defendants repeat the responses t0 the preceding paragraphs as if fully set forth

herein.
l l 5 . Denied.
l 16. Denied.
l l7. Denied.
l l 8. Denied.
l 19. Denied.
120. Denied.

11

 

 

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SECOND CLAIM FOR RELIEF
(Federal RICO)

121. Defendants repeat the responses to the preceding paragraphs as if fully set forth

 

herein.
122. Denied.
123. Denied.
124. Denied.
125. Denied.
126. Denied.
127. Denied.
128. Denied.
129. Denied.
130. Denied.
13 l . Denied.
132. Denied.
THIRD CLAIM FOR RELIEF
(New Jersey RICO)
l 3 3. Defendants repeat the responses to the preceding paragraphs as if fully set forth
herein.
134. Denied.
13 5. Denied.
136. Denied.
137. Denied.
13 8. Denied.

12

 

 

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139.

140.

141.

142.

143.

herein.

144.

145.

146.

147.

148.

149.

150.

herein.

151.

152.

153.

154.

Denied.
Denied.
Denied.
Denied.
FOURTH CLAIM FOR RELIEF
(Fraudulent Inducement)

Defendants repeat the responses to the preceding paragraphs as if fully set forth

Denied.
Denied.
Denied.
Denied.
Denied.
Denied.

FIFTH CLAIM FOR RELIEF
(Negligent Misrepresentation)

Defendants repeat the responses to the preceding paragraphs as if fully set forth

Denied.
Denied.
Denied.

Denied.

13

 

 

 

 

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herein.

herein.

herein.

155.

156.

157.

158.

159.

160.

161.

162.

163.

164.

165.

166.

167.

168.

169.

170.

SIXTH CLAIM FOR RELIEF
(Conversion)

Defendants repeat the responses to the preceding paragraphs as if fully set forth

Denied.
Denied.
Denied.
Denied.
Denied.

SEVENTH CLAIM FOR RELIEF
(Breach of Contract)

Defendants repeat the responses to the preceding paragraphs as if fully set forth

Denied.
Denied.
Denied.
Denied.
Denied.
Denied.

EIGHTH CLAIM FOR RELIEF
(Breach of Contract - - Liquor License)

Defendants repeat the responses to the preceding paragraphs as if fully set forth

Denied.

Denied.

14

 

 

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171.

172.

173.

174.

herein.

175.

176.

177.

178.

179.

180.

Denied.
Denied.
Denied.

NINTH CLAIM FOR RELIEF
(Breach of Contract - - Edison Pizza)

Defendants repeat the responses to the preceding paragraphs as if fully set forth

Denied.
Denied
Denied
Denied
Denied.

Denied.

WHEREFORE Defendants demand judgment against Plaintiffs dismissing all claims

with prejudice including Defendants attomeys’ fees, costs of suit and interest, and such other an

further relief as the court may deem just and equitable.

SEPARATE AND AFFIRMATIVE DEFENSES

l. The Complaint fails to state a claim upon which relief may be granted

2. Defendants performed and/or discharged each and every duty, if any, that they
owed to Plaintiffs.

3. Plaintiffs’ claims are barred by the doctrine of waiver.

4. Plaintiffs’ claims are barred by the statute of frauds

5. Plaintiffs’ claims are barred by the doctrines of accord and satisfaction

15

 

 

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6. Plaintiffs’ claims are barred by the doctrine of illegality.
7. Plaintiffs’ claims are barred by the doctrine of laches

8. Plaintiffs’ claims are barred by the statute of limitations
9. Plaintiffs’ claims are barred by the doctrine of estoppel

10. The liability of Defendants, if any, is reduced by monies paid to Plaintiffs by
collateral sources

11. The obligation of Defendants, if any, are defined and limited by contract.

12. Plaintiffs’ claims are barred or recovery reduced due to Plaintiffs’ failure to
mitigate damages

13. Plaintiffs’ losses and damages, if any, were caused by one or more superseding
causes

14. Plaintiffs’ losses and damages, if any, resulted from circumstances and conditions
beyond the control of Defendants

15. Some or all Plaintiffs lack standing to bring their alleged claims for relief.

16. The amount of Plaintiffs’ damages, if any, are offset by the amount of damages
Plaintiffs have caused to Defendants.

l7. Plaintiffs losses and damages, if any, were caused by third parties over whom
Defendants exercised no control.

18. Defendants’ claims are barred by their own misconduct and/or the breaches of
their own duties to Plaintiff.

19. Defendants’ claims are barred by the doctrine of unclean hands

20. Defendants have suffered no damages, losses or other injuries

16

 

 

 

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21. Defendants’ damages, if any, were caused in whole or in part by their own
conduct.

22. Defendants have not taken any actions that warrant the imposition of punitive
damages

23. Some of Plaintiffs’ claims are directly contradicted by contrary provisions in the

Operating Agreement for CT Pizza, which contains a valid and enforceable integration clause.
24. Plaintiff s answers and defenses are based upon currently available information
Plaintiff reserves the right to amend these answers and Defendants as discovery progresses

25. Any allegations not specifically admitted above are denied

17

 

 

 

 

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AMENDED COUNTERCLAIMS

Counterclaim Plaintiffs, Jignesh Pandya and CT Pizza, LLC (“CT Pizza”) (sometimes
collectively referred to herein collectively as “Counterclaim Plaintiffs”), by and through their
attorneys, Archer & Greiner, P.C., hereby submit the following Amended Counterclaims against
the Counterclaim-Defendants Jagdish Patel (“.lagdish”) and Kishan Patel (“Kishan”) (sometimes
collectively referred to herein collectively as the “Patels” or “Counterclaim Defendants”), and, in
support thereof, aver as follows:

PARTIES

1. .lignesh Pandya, is an adult individual and a resident of Pennsylvania, at 8
Woodland Road, Newtown, Pennsylvania, 18940.

2. CT Pizza, is a Connecticut limited liability company.

3. Upon information and belief, .1 agdish Patel, is an adult individual and a resident of
New Jersey, residing at 395 New Dover Road, Colonia, New Jersey 07067.

4. Upon information and belief, Kishan Patel, is an adult individual and a resident of
New .1 ersey, who resides at 395 New Dover Road, Colonia, New Jersey 07067.

JURISDICTION AND VENUE

5. .lurisdiction is founded upon 28 U.S.C. § 1322 in that Counterclaim-Plaintiffs are
citizens of Connecticut and Pennsylvania, and Counterclaim-Defendants are citizens of the State
of New Jersey thereby creating complete diversity of citizenship, and the amount in controversy
exceeds the statutory minimum, exclusive of interest and costs

6. Venue is proper in this Court under 28 U.S.C. § 1391(b) because a substantial part

of the events or omissions giving rise to these claims occurred in the District of New Jersey.

18

 

 

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FACTUAL BACKGROUND
7. Mr. Pandya is a successful franchise restaurant owner.
8. Through entities that he owns and operates, Mr. Pandya owns over 85 franchise

restaurants in various states, including but not limited to franchise restaurants for Pizza Hut,
Dunkin’ Donuts, and Checkers

9. Throughout his career, Mr. Pandya has successfully acquired existing franchise
restaurant locations and has also successfully developed new franchise locations

10. Mr. Pandya’s successful ownership and operation of franchise restaurants have
opened up additional franchising opportunities for him that would not be available to others who
lack his experience and successful track record
T he Purchase of Nine Existing Pizza H ut Franchise Locations in Connecticut

11. ln early 2011, Mr. Pandya became aware of a business opportunity to acquire nine
existing Pizza Hut restaurants in Connecticut At that time, Mr. Pandya was a respected
franchise owner of other Pizza Hut locations, which enabled him to have the opportunity to
purchase these stores

12. Mr. Pandya negotiated with the then-existing owner for the purchase of the nine
existing Pizza Hut franchises in Connecticut

13. Mr. Pandya formed CT Pizza, LLC, a limited liability company of the State of
Connecticut, as the entity through which he would acquire the nine Connecticut Pizza Hut
locations

14. CT Pizza was originally established with Mr. Pandya as its only member and he

originally maintained sole ownership of the entity.

19

 

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15. Mr. Pandya solely funded the formation of CT Pizza and he spent his own time
and efforts to discover and pursue the potential purchase of the nine Pizza Hut franchise
locations

16. Mr. Pandya was introduced for the first time to Jagdish Patel through a mutual
friend

l7. Jagdish Patel had learned of Mr. Pandya’s success through mutual contacts and he
approached Mr. Pandya and asked if he would be interested in going into business together.

18. Jagdish Patel had previously been an owner of Dunkin’ Donuts franchises, but
had never been an owner of any Pizza Hut franchises and had no connections with Pizza Hut.

19. Mr. Pandya was not looking for a partner at that time, and so no agreements were
reached at their initial introductory meeting

20. Following the initial meeting, Jagdish Patel continued to pursue Mr. Pandya about
doing business together and about including Mr. Patel’s son, Kishan, as a potential owner.
Jagdish Patel informed Mr. Pandya that he and his son had substantial money to invest.

21. While Jagdish Patel was pursuing Mr. Pandya and trying to convince him to
allow him and his son to acquire an ownership interest in a franchise venture with Mr. Pandya,
Mr. Pandya continued on his own to pursue the potential purchase of the nine existing Pizza Hut
franchises in Connecticut. Neither Kishan Patel nor Jagdish Patel had any involvement in those
negotiations

22. After several meetings, Jagdish Patel convinced Mr. Pandya to allow Kishan’s
son to become part owners of CT Pizza. Although the ownership would be in the name of

Kishan Patel, all or almost all of Mr. Pandya’s communications were with Jagdish Patel.

20

 

 

 

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23. Mr. Pandya sold to Kishan Patel a 25% membership interest in CT Pizza in
exchange for payment of $485,000.

24. Jagdish Patel informed Mr. Pandya that he would arrange for the purchase price to
be paid in two payments The first payment would be $350,000 and the balance would be paid
later. Mr. Pandya agreed to accept payment in this manner and moved forward believing that the
Patels were operating in good faith

25. Jagdish Patel represented to Mr. Pandya that, in addition to the purchase price, the
Patels had additional funds to contribute to CT Pizza as needed and that they would make
whatever contributions were necessary, even though the membership interest would be held in
the name of his son.

26. Mr. Pandya reasonably relied on Jagnish Patel’s representation of providing
future capital when needed when he agreed to sell a 25% interest in CT Pizza to Kishan Patel.

27. The parties also agreed to the terms of an Operating Agreement for CT Pizza.

28. Kishan Patel executed CT Pizza’s Amended and Restated Limited Liability
Company Operating Agreement (the “Operating Agreement”) on July 12, 2011, a true and
correct copy of which is attached hereto as Exhibit “1.”

29. The Operating Agreement contains an integration clause which provides, among
other things, that it “supercedes all prior written and oral statements, including any prior
representation, statement, condition or warranty.”

30. In 1110.1 of the Operating Agreement, Kishan Patel agreed that Mr. Pandya, as
manager, had the discretion to employ a management company to operate any Pizza Hut stores
that were owned by CT Pizza and he agreed in 115.4.3 that companies with which CT Pizza did

business could be owned by one or more members

21

 

 

 

 

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31. In paragraph 5.1.1 of the Operating Agreement, Kishan Patel agreed that Mr.
Pandya would serve as manager and that he had full authority to “make all decisions affecting
such business and affairs” of CT Pizza.

32. In the Operating Agreement, Kishan Patel agreed that Mr. Pandya had the power
to borrow money to carry on the business of CT Pizza.

33. The Operating Agreement made clear that additional funds might be necessary to
operate CT Pizza’s business Specifically, 11 3.2.1 provides in pertinent part:

3.2.1. If the Manager at any time or from time to time determines
that the Company requires additional Capital Contributions, then
the Manager shall give notice to each Member of (i) the total
amount of additional Capital Contribution that is required, (ii) the
reason the additional Capital Contribution is required, (iii) each
Member’s proportionate share of the total additional Capital
Contribution (determined in accordance with this Section), and (iv)
the date each Member’s additional Capital Contribution is due and
payable. A Member’s proportionate share of the total additional
Capital Contribution shall be equal to the product obtained by
multiplying the Member’s Percentage and the total additional

Capital Contribution required A Member’s proportionate share
shall be payable in cash or by certified check.

34. The Patels acknowledged to Mr. Pandya that they knew that additional funds
might be required of them at a later date if the franchise locations were acquired by CT Pizza.

35. ln 113.2.3 of the Operating Agreement, Kishan Patel agreed that his failure to
contribute monies in response to a capital call could result in the reduction or loss of his
membership interest.

36. .1 agdish Patel had specific knowledge of the terms of the Operating Agreement.

37. Based in part on the Patel’s promises to provide funding, Mr. Pandya continued
the negotiations with the then-current owner of the nine existing Pizza Hut franchise restaurants

to complete the potential purchase.

22

 

 

 

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38. To get the deal completed, CT Pizza had to rely on Mr. Pandya’s established

reputation as a successful Pizza Hut owner and his ability to provide the necessary guarantees

 

that the Patels were unable to provide. For example, Pizza Hut and the banks required Mr.
Pandya to personally guarantee all loans and to personally guarantee the franchise agreement for
CT Pizza, but they did not require the Patels to do so. Mr. Pandya was also required to
personally guarantee all property leases, but the Patels were not. Mr. Pandya put himself at
personal risk in providing these guarantees on behalf of CT Pizza.

39. The Patels were not directly involved in the negotiations to acquire the nine
Connecticut Pizza Hut franchises and never expressed an interest to do so.

40. The Patels could not have acquired any Pizza Hut franchises on their own without
Mr. Pandya’s direct involvement and personal guarantees

41. Mr. Pandya kept the Patels fully abreast of the negotiations and the information
provided to them by the sellers

42. Prior to the acquisition, the Patels had complete access to documents regarding
the potential purchase of the nine Pizza Hut franchise locations For example, the Patels had
complete access to the profit proj ections, profit and loss statements, leases, purchase agreements,
liquor license, list of landlords and their waivers, W2s, inspection reports, and quarterly sales
comparisons

43. The Patels were satisfied with the information they received By way of example,
in an email dated June 1, 2011, Jagdish Patel wrote the following to Mr. Pandya: “I am looking
forward to getting back into business! After looking over the papers, i [sic] am very very

motivated and excited with this fantastic chance. Please let me know how we can go forward”

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44. Given Jagdish Patel’s prior experience as a Dunkin’ Donuts franchisee and owner

of other businesses, the Patels were sophisticated purchasers

 

45. The Patels were specifically aware that the franchise restaurant business is risky
and that there are no guarantees of success

46. Jagdish Patel was peculiarly aware of the risks inherent in franchise ownership
because Dunkin’ Donuts had terminated his ownership interest in his Dunkin’ Donuts franchises
For these and other reasons, the Patels were keenly aware of the potential risks and rewards of
franchise restaurant ownership

47. The Patels, at all times relevant, had the opportunity to ask for whatever
information they deemed relevant and had the opportunity to back out of any potential deal if
they were denied information they believed important for their consideration

48. The Patels repeatedly expressed their satisfaction with Mr. Pandya’s handling of
the negotiations and the due diligence process

49. Following the due diligence process, CT Pizza completed the purchase of the nine
existing Connecticut Pizza Hut stores and began to operate them.

50. Consistent with the Operating Agreement, CT retained a management company to
conduct the day-to-day management of the nine franchise restaurants

51. CT Pizza retained Ronak Foods Management, LLC (“RFl\/I”) to serve as its
management company.

52. The Patels were, at all times, aware that CT Pizza retained RFl\/I as its
management company and they were aware at all times that RFl\/I was owned by Mr. Pandya.

53. The Patels did not express any objection to the retention of RFM.

 

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54. RFM hired various regional managers to manage the CT Pizza franchise
restaurants Those managers served only the CT Pizza restaurants and no other restaurants
managed by RFM.

55. Initially, CT Pizza was financially successful and CT Pizza issued a dividend
check to Kishan Patel, which Kishan Patel cashed

56. Mr. Pandya never took a dividend check from CT Pizza.

57. Jagdish Patel sent numerous emails to Mr. Pandya thanking him for allowing
Kishan Patel to be a member of CT Pizza.

58. Throughout the operations of CT Pizza, Mr. Pandya has kept and continues to
keep the Patels fully informed of the financial health of CT Pizza and the individual Pizza Hut
locations By way of example, Mr. Pandya provides the Patels with profit and loss statements
for each franchise restaurant, tax returns, and bank account statements

59. ln addition, the Patels, at all times relevant, have had online access to CT Pizza’s
banking records The Patels still maintain this access today.

60. Upon information and belief, the Patels have electronically accessed banking
information for CT Pizza and continue to do so today.

61. ln addition, the Patels have had full time online access to the real time, point of
sale electronic records for each of the Pizza Hut franchise locations from lnfoSync, a Pizza Hut
vendor. These detailed online records include everything from real time sales information to
inventory purchases, to payroll. ln other words, every financial record for each restaurant has
been and remains available to the Patels in real time. The Patels still maintain this access today.

62. Upon information and belief, the Patels have electronically accessed the CT Pizza

point of sale information through lnfoSync.

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63. The Patels never expressed an interest in actively operating CT Pizza and, in fact,
never did so.

64. After approximately one year of operation, CT Pizza encountered financial
troubles and its cash flow was insufficient to pay its expenses

65. CT Pizza made capital calls to the members to fund the shortfall and to keep CT
Pizza solvent.

66. In addition, Jagdish Patel was informed of the need for additional funds for CT
Pizza, which he had previously promised to make if additional funds were needed

67. The Patels failed to satisfy their proportionate share of the capital calls

68. In order to keep CT Pizza solvent, Mr. Pandya was forced to contribute more
money than his proportionate share of the capital calls

69. To date, after the initial funding, Mr. Pandya has satisfied every capital call from
CT Pizza. By comparison, the Patels have not satisfied the required capital calls

70. Because the Patels have failed to satisfy the required capital calls, CT Pizza and
Mr. Pandya have suffered damages

71. By way of example, CT Pizza would have benefitted from additional advertising
but the Patels’ failure to meet the required capital calls resulted in CT Pizza not having sufficient
hinds to properly advertise and, therefore, CT Pizza did not receive the additional revenue that
would have resulted from additional customers

72. In addition, the Patels’ failure to meet the capital calls caused Mr. Pandya to lose
other franchise opportunities Specifically, Mr. Pandya lost a significant opportunity in the
Chicago market because Pizza Hut determined that the accounts receivable in CT Pizza were too

high, which was a direct result of the Patels’ failure to meet the required capital calls

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73. In addition the Patels’ failure to meet the required capital calls caused CT Pizza
to not have sufficient funds to pay RFM for the management services provided to CT Pizza,

which funds are due and owing to RFM from CT Pizza.

T he 20-L0cati0n DevelopmentAgreement in Connecticut

74. In addition to the nine existing Pizza Hut franchise restaurants that CT Pizza
purchased Pizza Hut provided Mr. Pandya the opportunity to enter into a 20-location
development agreement with Pizza Hut to develop a minimum of 16 additional Pizza Hut
franchise locations in Connecticut.

75. In November 2011, with the consent of the Patels, Mr. Pandya signed a
development agreement with Pizza Hut to construct and operate additional Pizza Hut franchises
in Connecticut (the “Development Agreement”).

76. At all times relevant, the Patels were aware of the terms of the Development
Agreement.

77. Mr. Pandya provided a copy of the Development Agreement to Jagdish Patel.

78. Jagdish Patel promised to provide necessary funding to develop the additional
stores and promised to help find additional locations

79. Upon information and belief, Jagdish Patel traveled to Connecticut with his
nephew (Nilesh Patel) to seek out potential locations to develop new stores Jagdish Patel further
stated that his brother would also assist in finding new locations

80. Mr. Pandya invited Jagdish Patel to visit CT Pizza’s existing locations and

provided him with contact information for the district manager.

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81. Jagdish Patel came to Connecticut, where he met with the district manager and
toured at least some of the existing CT Pizza locations

82. The opportunity to enter into the Development Agreement became available
because of Mr. Pandya’s past success as an owner and operator of other Pizza Hut franchises

83. The Patels would not have been able to enter into the Development Agreement
without Mr. Pandya’s involvement as the principal.

84. As a result of the opportunities afforded by the Development Agreement, the
members of CT Pizza were required to contribute additional capital to build and open the new
restaurant locations

85. Jagdish Patel represented to Mr. Pandya that he had additional funds to contribute
to CT Pizza pursuant to the Development Agreement to develop and open the new franchise
locations as needed and that he would make whatever financial contributions were necessary.

86. Mr. Pandya entered into the Development Agreement based in part on his
reasonable reliance on the promises made by Patels to contribute the funds necessary to build the
new franchise locations

87. Mr. Pandya put his reputation within Pizza Hut on the line when he executed the
Development Agreement, which he did in part based on his reasonable reliance on the Patels’
promises to fund the development of the new franchise locations

88. Pursuant to the Development Agreement, CT Pizza built two additional Pizza Hut
franchise locations in Connecticut, which is far less than the minimum of 16 new locations set
forth in the Development Agreement.

89. CT Pizza has not built the additional stores set forth in the Development

Agreement in part because the Patels have not contributed the funds required to build the stores

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90. Despite the Patels’ promises, the Patels did not contribute the funds necessary to
develop the stores under the Development Agreement.

91. As a direct and proximate result thereof, Mr. Pandya lost clout within Pizza Hut
because CT Pizza failed to open all of the franchise contemplated by the Development
Agreement and Counterclaim Plaintiffs lost the opportunity to profit from those franchise
locations

92. At all times relevant, Jagdish Patel was the agent of Kishan Patel.

93. At all times relevant, Kishan Patel was the agent of Jagdish Patel.

94. Based upon his direct dealings and communications with the Patels, Mr. Pandya
reasonably understood the Patels operated in tandem and that each had the express and/ or
implicit authority to bind the other.

COUNTI
(BREACH oF CoNTRACT)

95. Counterclaim Plaintiffs incorporate the allegations of the preceding paragraphs as
if fully set forth herein

96. Counterclaim Plaintiffs have satisfied all of their respective obligations under the
Operating Agreement.

97. As set forth above, Kishan Patel, individually and acting through his father, has
breached the Operating Agreement by failing to meet the capital calls

98. As a direct and proximate result thereof, Mr. Pandya and CT Pizza have suffered
damages, including but not limited to, lost sales opportunities that would have been afforded
with additional advertising, lost opportunities under the Development Agreement, exposure to

the personal guarantees, lost management fees, and lost opportunities with Pizza Hut in other

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regions Mr. Pandya has also been forced to contribute more funds to CT Pizza than his
ownership share required because Kishan Patel did not meet the capital calls

COUNT II
(BREACH OF COVENANT OF GOOD FAITH AND FAlR DEALING)

99. Counterclaim Plaintiffs incorporate the allegations of the preceding paragraphs as
if fully set forth herein

100. Kishan Patel owes Plaintiffs an implied duty of good faith and fair dealing

101. By refusing to deal in good faith in his dealings with Mr. Pandya as described
above, Kishan Patel breached the implied covenant of good faith and fair dealing

102. As a direct and proximate result thereof, Plaintiffs have suffered damages

COUNT III
(FRAUD)

103. Counterclaim Plaintiffs incorporate the allegations of the preceding paragraphs as
if fully set forth herein

104. As explained above, both with respect to the original nine Pizza Hut franchises
and the additional stores identified in the Development Agreement, Jagdish Patel represented to
Mr. Pandya that he would contribute additional funds to CT Pizza as needed, even though the
membership interest in CT Pizza would be held in the name of his son.

105. Upon information and belief, these representations were false when made and
were made with the intent that Mr. Pandya would rely upon them and use his considerable clout
with Pizza Hut to acquire the nine franchise restaurants and build new ones for CT Pizza and to

sell a 25% interest in CT Pizza to Kishan Patel.

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106. Mr. Pandya relied on these representations when he agreed to sell a 25%
membership interest in CT Pizza to Kishan Patel and when he executed the Development
Agreement.

107 . Jagdish Patel made such false statements either intentionally and/or negligently
with callous disregard for their truth

108. As a direct and proximate result thereof, Counterclaim Plaintiffs have suffered
damages

COUNT IV
(BREACH OF FIDUCIARY DUTY)

109. Counterclaim Plaintiffs incorporate the allegations of the preceding paragraphs as
if fully set forth herein

110. As a member of CT Pizza, Kishan Patel owes Mr. Pandya the highest fiduciary

duty.

111. At all times, Mr. Pandya relied upon the Kishan Patel to act in the best interests of
Pandya and CT Pizza.

112. Through the actions outlined above, Kishan Patel breached his fiduciary duties to
Mr. Pandya.

113. As a direct and proximate result thereof, Plaintiffs have suffered damages

COUNT V
(TORTIOUS INTERFERENCE WITH CONTRACT)

114. Counterclaim Plaintiffs incorporate the allegations of the preceding paragraphs as
if fully set forth herein
115. At all times relevant, Jagdish Patel was aware of l\/lr. Pandya’s rights under the

Operating Agreement and the Development Agreement.

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116. At all times relevant, Kishan Patel was aware of Mr. Pandya’s rights under the

Development Agreement.

1 l7. Upon information and belief, Jagdish Pandya instructed and/or encouraged his

son, Kishan Patel, not to comply with the terms of the Operating Agreement.

1 18. Jagdish Patel was not justified in intentionally interfering with Mr. Pandya’s

rights under the Operating Agreement.

1 19. Upon information and belief, the Patels conspired with each other not to
contribute funds needed to develop and maintain the additional franchise locations that were the
subject of the Development Agreement, thereby causing such stores not to be developed or

maintained

120. The Patels’ interference with Mr. Pandya’s contract rights under the Development

Agreement was not justified

121. As a direct and proximate result thereof, Plaintiffs have suffered damages

COUNT VI
(CIVIL CONSPIRACY)

122. Counterclaim Plaintiffs incorporate the allegations of the preceding paragraphs as
if fully set forth herein
123. Defendants acted in concert with each other to commit the unlawful and tortious

acts set forth above and below.

 

124. Defendants knowingly and intentionally agreed to commit such acts in an effort to

harm Plaintiffs.

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125.

As a result of the foregoing overt actions committed by the Defendants acting in

concert, Plaintiff has suffered damages

WHEREFORE, Counterclaim Plaintiffs demand the following relief from

Counterclaim-Defendants

1.

2.

Compensatory damages;

Punitive damages;

Pre- and post-judgment interest;

Attorneys’ fees and costs of suit; and

Such other and further relief as the Court deems just and equitable.
Respectfully submitted
ARCHER & GREINER
A PROFESSIONAL CORPORATION
Attorneys for Defendants/Counterclaim

Plaintiffs

By: /s/Mark.]. Obersmedt
MARK J. OBERSTAEDT, ESQUIRE

Dated: November 23, 2015

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AMENDED DESIGNATION OF TRIAL COUNSEL
Defendants designate Mark J. Oberstaedt, Esquire as trial counsel in the above-captioned

matter.

Respectfully submitted

ARCHER & GREINER
A PROFESSIONAL CORPORATION

Attorneys for Defendants/Counterclaim
Plaintiffs

By: /s/ MarkJ. Oberstaedt
MARK J. OBERSTAEDT, ESQUIRE
Dated: November 23, 2015 -

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Exhibit 1

 

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AMENDED AND RESTATED
LIMITED LIABILITY COMPANY
oPERATlNG~AGREEMENT oF
CT PIzzA, LLC

This Amended and R;estated Limited Liability Company Operating Agreement (this
“Agreement”)' ls entered into this 12th day of July, 201 1, by and among the signatories hereto.

BACKGROUND

 

A. On July 5, 2011 Articles of Organization for CT Pizza, LLC (“Company”) were
filed with the Connecticut Secretary of State m accordance with the Connecticut
Limited Liability Company Act _.(Conn Gen. _Stat. Ann 34- 100 et seq ), as
amended {“Law"), wherein Jignesh N. Pandya was the Sole Member. _

B; On Ju]y 12th, 2011 Jignesh N. Pandya sold twenty-five (25%) percent of his
- Membership Interest to Kishan J. Patel.

C. Jignesh N. Patel and Kishan J. Patel agree that collectively they are the sole '

Members of the Company and desire to amend and restate the Limited liability
Company Agreement as more fully set forth herein

NOW 'I`HEREFOR.E,' intending to be legally bound, and incorporating the Background
above, the parties agree as follows:

Section I.
Defmed Terms

The following capitalized terms shall have the meanings specified in this Section I
:Other terms are defined 111 the text of this Agreement; and, throughout this Agreement, those
terms shall have the meanings respectively ascribed to them

~ . “Ad]usted Qm@ Account Defici ” means, with respect to any Interest Holder, the deficit
balancell if any-, in the Interest Holder’ s Capital Account as of the end of the relevant taxable

year, after giving effect to the following adjustments

(i) The deficit shall be decreased by the amounts which the Interest Holder is
obligated to restore pursuant tc Section 4. 4. 2, or is deemed obligated to restore pursuant
.to Regalation Section l .704-1(b)(2)(ii)(c); and

(ii) The deficit shall be increased by the items described 111 Regulation Section
1 -~704 l(b)(?)(ii)-(d)(’i) (5), and (6) .

“Adjusted §;apital Balance” means, as of any day, an Interest Holder’s total Capital
Contributions less all amounts actually distributed to the Interest Holder pursuant to Sections

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4.2.3.4.1 and 4.4 hereof. If any Interest is'transferred pursuant to the terms of this Agreement,
the transferee shall succeed to the Adiusted Capital Balance of the transferor to the extent the
Adjusted Capital Balance is attributable vto the Interest transferred `

“Affiliate” means, with respect to any Member, any other Person that, directly or
indirectly through one or more intennediaries, controls, is controlled by or is under common
control with such specified Person. For purposes of this delinition, the term “contro ” means the
power _to direct or cause the direction of the management of a Perscn, directly or indirectly,
whether through the ownership of voting securities, by contract or otherwise; and the terms
“controlled” and “controlling” have correlative meanings

“Ag@men ” means this Agreement, as amended from time to time.

“Qapital Account” means the account to be maintained by the Company for each interest
Holder in accordance with the following provisions: -

(i) An Interest Holder’s Capital Account shall be credited with the Interest
Holder’s Capita_l Contributions, the amount of any Company liabilities assumed by the
Interest Holder (or which are secured by Company property distributed to the Interest
Holder), the Interest Holder’s distributive share of Profit and any item in the nature of
income or gain specially allocated to such Interest Holder pursuant to the provisions of
Section lV (other than Section 4.3.3); and _

(ii) ._ An Interest Holder’s Capi'tal Account shall be debited with the amount of
money and the fair market value of any Company property distributed to the lnterest
Holder, the amount of any liabilities of the Interest Holder assumed b`y the Company (or
which are secured by property contributed by the Interest Holder to the Company), the
Inte_rest Holder’s distributive share of Loss, and any item in the nature of expenses or
losses specially allocated to the Interest Holder pursuant to the provisions of Section IV
(other than Section 4.3.3). ~ '

If any Interest is transferred pursuant to the terms of this Agreement, the

' transferee shall succeed to the Capital Account of the transferor to the extent the Capital

Account is attributable to the Interest transferred lf_the book value of Company property

is adjusted pursuant to Section 4.3.3, the Capital Account of each lnterest Holder shall be

adjusted to reflect the aggregate adjustment in the same manner as if the Company had

recognized gain or loss equal to the amount of such aggregate adjustment It is intended

' that the Capital Accounts of all Interest Holders shall be maintained in compliance with

the provisions of Regulation Section 1.704-1(1)), and all provisions of this Agreement

relating to the maintenance of Capital Accounts shall be interpreted and applied in a
manner consistent with that Regulation. -

“Capital Contribution” means the total amount of cash and the fair market value of any `

other assets contributed (or deemed contributed under Regulation Section 1.704-1(b)(2)(iv)(d))
to the Company by a Member, net of liabilities assumed or to which the assets are subject

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‘ apital Prgce§s” means the gross receipts received by the Company from a Capital

Transaction.

“Capital Transaction” means any transaction not in the ordinary course of business which
results in the Company’s receipt of cash or other consideration other than Capital Contributions,
including, without limitation, proceeds of sales or exchanges or other dispositions of property not
in the ordinary course of business, fmancings, reiinancings, condemnations, recoveries of
damage awards, and insurance proceeds ~

“Cash Flow” means all cash funds derived from operations of the Company (including
interest received on reserves), without reduction for_any noncash charges, but less cash funds
used to pay current operating expenses including, but not limited to, any management fees, and
to pay or establish reasonable reserves for future expenses, debt payments capital improvements
and replacements as determined by the Manager in its sole discretion Cash Flow shall not
include Capital Proceeds but shall be increased by the reduction of any reserve previously

established

“Q_QQ” means the Internal Revenue Code of 1986, as amended, o_r any corresponding
provision of any succeeding law. -

“Company” means the limited liability company formed in accordance with this
' Agreement. `

“Inter§st” means a Person’s share of the Proiits and Losses of, and the right to receive
distributions from, the Company. .

“Interest Holder” means any Person who holds an Interest, whether as a Member or as an
unadmitted assignee cfa Member.

“Involuntgy With_drawai" means, With respect to any Member, the occurrence of any of
the following events:

(i) The Member makes an assignment for the benefit of creditors;
(ii) The Member files a voluntary petition ofbankruptcy;

(iii) The Member is adjudged bankrupt or insolvent or there is entered against
the Member an order for relief in any bankruptcy or insolvency proceeding;

- (iv) The Member files a petition or answer seeking for the Member any
reorganization, arrangement, composition, readjustment, liquidation dissolution, or
similar relief under any statute, iaw, or regulation; -

(v) The Member seeks, consents to, or acquiesces in the appointment of a
trustee for, receiver for, or liquidation of the Member or of all or any substantial part of

the Member’s properties;

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(vi) The Member files an answer or other pleading admitting or failing to _

contest the material allegations of a petition filed against the Member in any proceeding
described in Subsections (i) through (v);

(vii) Any proceeding against the Member seeking reorganization._, arrangement
composition, readjustment, liquidation dissolution,. or similar relief under any statute,
law, or regulation, continues for one hundred twenty (120) days alter the commencement
thereo`f, or the appointment cf a trustee, receiver, or liquidator for the Member or all or
any substantial part of the Member’s'properties without the Member’s agreement or
acquiescence, which appoinnnent is not vacated or stayed for one hundred twenty (120)
days or, if the appointment is stayed, for one hundred twenty (120) days after the
expiration of the stay during which period the appointment is not vacated;

(viii) If the Member is an individual, the Member’s death or adjudication by a
court of competent jurisdiction as incompetent to manage the Member’s person or
Pr°PerfY;

(ix) If the Member is acting as a Member by virtue of being a trustee of a trust,
the termination of the trust;

(x) If_` the Member is a partnership or another limited liability company, the
dissolution and commencement of winding up of the partnership or limited liability
°Qmpany§

(xi) If the Member is a corporation the dissolution of the corporation or the
revocation of its charter; or

(xii) If the Member is an estate, the distribution by the fiduciary of the estate’s
entire interest in the limited liability company.

“L_ag” means the Connecticut Limited Liability Company Law_, Conn. Gen. Stat. Ann`.

34-100 et seq., as amended from time to time.

“Manage ’ is the Person designated as such in Section V.

“Member” means each Person signing this Agreement and any Person who subsequently

is admitted 'as a member of the Company.

“Member Loan Nonrecourse Deductions” means any Company deductions that would be

Nonrecourse Deductions if they were not attributable to a loan made or guaranteed by a Member
within the meaning of Regulation Section l.704-Z(i).

“Membership Righ ” means a Member’s Interest and a Member’s right to vote on

matters coming before the Company that require the approval of the Members.

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“Mrln_r_t_n_n_§igin” has the meaning set forth in Regulation Section l.704~2(d). Minimum
Gain shall be computed separately for each Interest Holder in' a manner consistent with the

Regulations under Code Section 704(b).
“Negntivg Capital Aecount” means a Capital Account with a balance of less than zero.

“Llomecomse Deductions” has the meaning set forth in Regulation Section l.704-2(b)(l).
The amount of Nonrecourse Deductions for a taxable year of the Company equals the net
increase, if any, in the amount of Minimum Gain during that taxable year, determined according
to the provisions of Regula'tion Section 1.704-2(c).

“Nonrccourse Liability” means any liability of the Company with respect to which no
Member has personal liability determined in accordance with Code Section 752 and the
Regulations promulgated thereunder.

“Percentage” means, as to a Member, the percentage set forth after the Member’s name
on Exhibit _A, as amended from time to time, and as to an Interest Holder who is not a Member,
the Percentage of the Member whose Interest has been acquired by such Interest Holder, to the
extent the Interest Holdcr has succeeded to that Member’s Interest.

“Persori” means and includes any individuaL corporation, partnership, association,_

limited liability company, trust, estate, or other entity.
“Positive Capital Acoount” means a Capital Account with a balance greater than zero.

“Broti ’ and “Los_s” mean, for each taxable year of the Company (or other period for
which Profit or Loss must be computed) the Company’s taxable income or loss determined in
accordance with Code Section 703(a), with the following adjustments

(i) All items of income, gain, loss, deduction, or credit required to be stated
separately pursuant to Code Section 703(a)(1) shall be included in computing taxable
income or loss;

(ii) Any tax-exempt income of the Company, not otherwise taken into account .

in computing Proiit or Loss, shall be included in computing taxable income or loss;

_ (iii) Any expenditures of the Company described in Code Section 705(al(2)(B)
(or treated as such pursuant to Regulation Seotion l.704(b)(2)(iv)(i)) and not otherwise
taken into account in computing Profit or Loss, shall be subtracted from taxable income

or loss;

(iv) _Gain or loss resulting from any taxable disposition of Company property
shall be computed by reference to the adjusted book value of the property disposed of,
notwithstanding the fact that the adjusted book value differs nom the adjusted basis of

the property for federal income tax purposes;

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(v) In lieu of the depreciation, amortization, or cost recovery deductions
allowable in computing taxable income or loss, there shall be taken into account the
depreciation computed based upon the adjusted book value of the asset; and

(vi) Notwithstanding any other provision of this definition_, any items which
are specially allocated pursuant to Section 4.3 hereof shall not be taken into account in
computing Pr_oiit or Loss.

“Regulatign” means the income tax regulations, including any temporary regulations,
from time to time promulgated under the Code.

“!frapsfer” means, when used as a noun, any voluntary sale, hypotliecation! pledge,
assignment attachment, or other transfer; and, when used as a verb, means, voluntarily to sell,
hypothecate, pledge, assign, or otherwise transfer.

. “Voluntary Withdrawal” means a Member’s dissociation with the Company by means .
other than by a 'I‘ransfer or an Involuntary Withdrawal.

Section II._
Formation and Name: Office; Purpose; Term

2.1. Organizatign. The parties shall organize a limited liability company pursuant to
the Law and the provisions of this Agreement and, for that purpose, shall cause Articles of
Organization, in the form prescribed by the Connecticut Department of State, to be executed and
filed for record with the Cormecticut Department of State.

2.2. Nam§ of the Company. The name of the Company shall be CT Pizza, LLC. The _
Company may do business under that name and under any other name or names which the

Manager selects.

2.3. Ll_rp_Qs§. The Company is formed for the purpose of engaging in any lawful
business, purpose or activity for which limited liability companies may be formed under the Law
including, but not limited to, the purchase and operation of nine (9) Pizza Hut stores in
Connecticut The Company shall possess and may exercise all of the powers and privileges
granted by the Law or by any other law or by this Agreement, together with any powers 4
incidental thereto, so far as such powers and privileges are necessary or convenient to the
conduct, promotion or attainment of the business purposes or activities ofthe Company. `

2.4. Terrn. The term of the Company shall begin upon the filing of the Articles of , z
Organization with the Connecticut Department of State and shall continue in existence until its g
existence is sooner terminated pursuant to Section VII of this Agreement. `

2.5. Registered Oftice; Princi@ Ot`tice. The registered agent in the State of
Connecticut in Business Filings Incorporated with an address of One Corporatc Ccnter 11“‘

Floor, Hartford, CT 06103 and the principal place of business of the Company shall be located

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at 210 E. Street Road, Suite 3B, Feasterville, PA 19053_, or such other place or places as the
Manager may select_.

2.6. Members. The name, present mailing address, and Percentage of each Member
are set forth on Exhibit A. '

Section III.
Members; Capital; Capital Accounts

3.1. Initial Cz_ipital Conu'ibutions. Upon the execution of this Agreement, the
Members shall contribute to the Company cash and other consideration as agreed to by the

Members.

3.2. Additional CBital Contributions.

3.2.1.~ If the Manager at any time or from time to time determines that the
Company requires additional Capital Contributions, then the Manager shall give notice to
each Member of (i) the total amount of additional Capital Contribution that is required,
(ii) the reason the additional Capita.i Contri~bution _is required,' (iii) each Member’s
proportionate share of the total additional Capital Contribution (determined in accordance
with this Section), and (iv) the date each Member’s additional Capital Contribution is due
and payable A Member’s proportionate share of-the total additional Capital Contn'bution
shall be equal to the product obtained by multiplying the Member’s Percentage and'the
total additional Capital Contribution required. A Member’s proportionate share shall be
payable in cash or by certified check.

3.2.2. Except as provided in Section 3.2.1, no Member shall be required to
contribute any additional capital to_ the Company, and no Member shall have any personal
liability for any obligation of the Company. ’

3.2.3. lf a Member fails to pay when due all or any portion of any Capital
Cont:ribution, the Manager shall request the non-defaulting Members to pay the unpaid
amount of the defaulting Member’s Capital Contribution (the “Unpaid antcibug'on").
To the extent the Unpaid Contribution is contributed by any other Member, the defaulting
Member’s Percentage shall be`reduced and the Percentage of each Member who makes
up the Unpaid Contribution shall be increased, so that each Member’s Percentage is equal
to a ii'action, the numerator of which is that Member’s total Capital Contribution and the

denominator of which is the total Capital Contributions of all Interest Holders. The
Manager shall amend_Exhibit A accordingly This remedy is in laddition to any other
remedies allowed by law or by this Agreement.

- 3.3. No interest on Capital Contribptions. Interest Holders shall not be paid interest
on their Capital Contributions.

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3.4. Return of Qapital §ontributions. Except as otherwise provided in this Agreement,
no Interest Holder shall have the right to receive the return of any Capital Contribution.

3.5. Form of Return of Cap_ital. It` an Interest Holder is entitled to receive a return of a
Capital Contribution, the In`terest Holder shall not have the right to receive anything but Cash in
return for the Interest Holder’s Capital Contributlon.

3.6. Capi§gl Ag§og_nts. A separate Capital Account shall be maintained for each
Interest Holder. » . - '

3.7. Loans. Any Member inay, at any time, make or cause a loan to be made to the
Company in any amount and on those terms upon which the Manager and such Member agree.

Section IV.
Profit, Loss,' and Distributions

4.1. Qistributions of Cash flow _and Allocations of Pro_iit or Loss Other Than Q_ap_ital
Transa_c_‘g'ons. ‘ '

4.1.1. §roiit _qr Loss Other Th_an from a Capital Transa§tion. After giving effect
to the special allocations set forth in Section 4.3, for any taxable year of the Company,

Profit or Loss (other than Proiit or Loss resulting from a Capital 'l`ransaction, which '

l Protit or Loss shall be allocated in accordance with provisions of Sections 4.2.1 and
4.2`.2) shall he allocated to the Interest Holders in proportion to their Percentages. _

4.1.2. Cash Flow. Cash Flow for each taxable year of the Company shall be
distributed to the Interest Holders in proportion to their Percentages no later than seventy-

iive (75) days etter the end of the taxable year.

v 4.2. Distributions of Capital Proceeds and Allgcatj@ of Proflt or Loss from Cap_ital

Transactions.

4.2.1. Prgfg. After giving effect to the special allocations set forth in Section
.4.3, Profit from a Capital 'I`ransaction shall be allocated as follows:

4.2.1.1. Ii` one or more Interest Holders has a Negative Capital
Account, to those lnterest Holders, in proportion to their Negative Capital
Accounts, until all of those Negative Capital Acoounts have been reduced to zero.

4.2.1.2._ Any Proiit not allocated to reduce Negative Capital
Accounts to zero pursuant to Section 4.2.1.1 shall be allocated to the Interest

Holders in proportion to, and to the extent of, the amounts distributable to them -

pursuant to Sections 4._2.3.4.1 and 4._2.3.4.3.

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4.2.1,`3. Any Proiit in excess of the foregoing allocations shall be
allocated tothe Interest Holders in proportion to their Percentagcs

4.2.2. Loss. After giving effect to the special allocations set forth in Section 4.3,
Loss from a Capital Transaction shall be allocated as follows:

4.2.2.1. If one or more Interest Holders' has a Positive Capital
Account, »to those Interest Holders, in proportion to their Posi_tive Capital
Accounts, until all of those Positive Capital Accounts have been reduced to zero.

4.2.2.2~. Any Loss not allocated to reduce _Positive Capital Accounts
to zero pursuant to Section 4.2.2.1 shall be allocated to the interest Holders in
proportion to their Percentages.

4.2.3.~ Capital Procee_ds. Capital Proceeds shall be distributed and applied by the
Company in the following order and priority: ~

4.2.3.1. To the payment of all expenses of the Company incident to

the Capital Transaction; then ' ` _ `
. 4.2.3.2. To the payment of debts and liabilities of the Company

then due and outstanding (including all debts due to any Interest Holder); then

4.2.3.3. To the establishment of any reserves which the Manager, in
its sole discretion, deems necessary for liabilities or obligations of the Company;
then "

4.2.3.4. The balance shall be distributed as follows:

. 4.2.3.4.1. To the Interest Holders in proportion to their
Adjusted Capital Balances, until their remaining Adjusted Capital
Balances have been paid in full;

4.2.3.4.2. lf any Interest Holder has .a Positive Capital
Account after the distributions made pursuant to Sectlon 4.2.3.4.1 and
before any hether allocation of Protit pursuant to Section 4.2.1.3, to those
Interest Holders in proportion to their Positive Capital Accounts; then

4.2.3._4.3. The balance, to the Interest Holders in proportion to
their Percentages.

4.3. Regnlatory Allocations.

4.3.1. Qualiiied Income Offset. No Interest Holder shall be allocated losses or
deductions if the allocation causes an Interest Holder to have an Adjusted Capital
Account Deficit. If an Interest Holder receives (1) an allocation of Loss or reduction (or

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item thereof) or (2) any distribution, which causes the Interest Holder to have an
Adjusted Capital Account Deficit at the end of any taxable year, then all items of income
and gain of the Company (consisting of a pro rata portion of each item of Company
ineome, including gross income and gain) for that taxable year shall be allocated to that
Interest Holder, before any other allocation is made of Company items for that taxable
year, in the amount and in proportions required to climinate,the excess as quickly as
possible. This Section 4.3.1 is intended to comply with,. and shall be interpreted
consistently with, the “qualified income offse ” provisions of the Regulations
promulgated under Code Section 704(b).

4.3.2. Minimurn Gain Chargehagk. .Except as set forth in Regulation Section
l.704-2(t)(2), (3), and (4), if, during any taxable year, there is a net decrease in Minimum
Gain, each Interest Holder, prior to any other allocation pursuant to this Section IV, shall
be specially allocated items of gross income and gain-for such taxable year (and, if
necessary, subsequent taxable years) in an amount equal to that Interest Holder’s share of
the net decrease of Minimum Gain, computed in accordance`with Regulation Section
l.704-2(g). Allocations of gross income and gain pursuant to this Section 4.3.2 shall_be
made first from gain recognized liom the disposition of Company assets subject to-
nonrecourse liabilities (within the meaning of the Regulations promulgated under Code
Section 752), to the extent of the Minimum Gain attributable to those assets, and
thereafter, from a pro rata portion of the Company’s other items of income and gain for
the taxable year. lt is the intent of the parties hereto that any allocation pursuant to this
Section 4.3.2 shall constitute a “minimum gain chargeback” under Regulation Seetion

1.704-2(:).

4.3.3. Contributed Propgty and Book-gps. In accordance with Code Section
704(c) and -the Regulations thereunder, as well as Regulation Section l.704-
l(b)(Z)(iv(d)($), income, gain, loss, and deduction with respect to any property

_ contributed (or deemed contributed) to the Company shall, solely for tax purposes, be
allocated among the lnterest Holders so as to take account of any variation between the
adjusted basis of the property to the Company for federal income tax purposes and its fair
market value at the date of contribution (or deemed contribution). If the adjusted book
value of any Company asset is adjusted as provided herein, subsequent allocations of
income, gain,l loss, and deduction With respect to the asset shall take account of any
variation between the adjusted basis of the asset for federal income tax purposes and its
adjusted book value in the manner required under Code Section 704(0) and the
Regulations thereunder. The Manager shall determine the applicable method of applying

Code Section 704(0) and the Regulations thereunder.

4.3.4. Code Section 7§4 Ad]`ustment. To the extent an adjustment to the tax
basis of any Company asset pursuant to Code Section 734(b) or Code Section 743(b) is

required, pursuant to Regulation Section l.704-l(b)(2)(iv)(m), to be taken into account in
determining Capital Accounts, the amount oftho adjustment to the Capital Accounts shall
be treated as an item of gain (if the adjustment increases the basis of the asset) or loss (if
the adjustment decreases basis), and the gain or loss shall be specially allocated to the

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Interest Holders in a manner consistent with the manner in which their Capital Accounts
are required to be adjusted pursuant to that Section of the Regulations.

4._3.5.` Nonrecoge Deduction§. Nonrecourse Deductions for a taxable year or
other period shall be specially allocated among the Interth Holders in proportion to their
Percentages.

4.3.6. M@g' her Loan l\lonrecourse Deducg'gns. Any Member Loan Nonrecourse
Deduction for any taxable year or other period shall be specially allocated to the Interest

Holder who bears the risk of loss with respect to the loan to which the Member Loan
Nonrccourse Deduction is attributable in accordance with Regulation Section 1.7_04-2(i).

4.3.7. Guga_nteed Payments. To the extent any compensation paid to any
Member by the Compsny, including any fees payable to any Member pursuant to Section
5.3 hereof, is determined by the Internal Revenue Service not to be a guaranteed payment
under Code Section 707(c) or is not paid to the Member other than in the rPerson’s
capacity as a Member within the meaning of Code Section 707(a), the Member shall be
specially allocated gross income cf the Company in an amount equal to the amount of

that compensation and the Member’s `Capital Account shall be adjusted to reflect the '

payment of that compensation

_ 4.3.8. Unrealized Receivables. If an Intcrest Holder’s Interest is reduced .
(provided the reduction does not result in a complete termination of the lnterest Holder’s
Interest), the Interest Holder’s share of the Company’s “unrealized receivables” and
“substantially appreciated inventory” (within the meaning of Code Seotion 751) shall not
be reduced, so that, notwithstanding any other provision of this Agreement to the
contrary, that portion of the Protit otherwise allocable upon a liquidation or dissolution of
the Company pursuant to Section 4.4 hereof which is taxable as ordinary income
_ ' (recaptured) for federal income tax purposes shall, to the extent possible without

increasing the total gain to the Company or to any Interest Holder, be specially allocated
among the Interest Holders in proportion to the deductions (or basis reductions treated as
deductions) giving rise to such recapture Any questions as to the aforesaid allocation of
ordinary income (recapturc), to the extent such questions cannot be resolved in the
manner specified above, shall be resolved by the Manager.

_4.3.9. Withholg’ng. All amounts required to be withheld pursuant to Code
Sections 1445 or 1446 or any other provision of federal, state, or local tax law shall be
treated as amounts actually distributed to the affected Interest Holders for all purposes

under this Agreement.

4.4. Liguidation and Di§solution.

4.4.l. if the Company is liquidated, the assets of the Company shall be
distributed to the Interest Holders in accordance With the balances in their respective
Capital Aocounts, after taking into account the allocations cf Profit or Loss pursuant to

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Sections 74.1 or 4.2, if any, and distributions, if any, of cash or property, if any, pursuant
to S`ections 4.l and 4.2.3. '

4.4.2, No interest Holder shall be obligated to restore a Negative Capital
Account.

~ 4.5. eneral.

4.5.1. Except as otherwise provided in this Agreement, the timing and amount of
all distributions shall be determined by the Manager.

4.5.2. If any assets of the Company are distributed in kind to the lnterest
Holders, those assets shall be valued on the basis of their fair market value, and any
Interest Holder entitled to any interest in those assets shall receive that interest as tenant-
in'common with all other Interest Holder so entitled.' Unless the Members otherwise
agree, the fair market value of such assets shall be determined by an independent
appraiser _who shall be selected by the Manager. The Profit or Loss for each unsold asset
shall be determined as if the asset had been sold at its fair market value, and the Profit or
Loss shall be allocated as provided in Section 4.2 and shall be properly credited or
charged to the Capital Accounts of the interest Holders prior to the distribution of the
assets in liquidation pursuant to Section 4.4.

4.5.3. All Profit and Loss shall be allocated, and all distributions shall be made
to the Persons shown on the records 'of the Company to have been Interest Holders as 'of
the last day of the taxable year for which the allocation or distribution is to be made.
Notwithstanding the forgoing, unless the Company’s taxable year is separated into
segments, if there is a Transfer or an Involuntary Withdrawal during the taxable year, the
Prth and Loss shall be allocated between the original Interest Holder and the successor
on the basis of the number of days each was an Interest Holder during the taxable year;
provided, however, the Company’s taxable year shall be segregated into two or more
segments in order to account for Profit for Loss, or proceeds attributable to a Capital
Transaction or to any other extraordinary nonrecurring items of the Company.

4.5.4. The Manager is hereby authorized, upon the advice of the Company’s tax
counsel, to amend this Section IV to comply with the Code and the Regulations
promulgated under Code Section 704(b); previdecl, however, that no amendment shall
materially affect distributions to an Interest Holder without the Interest Holder’s prior

written consent.

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Section V.
Management: Rights, Power, and Duties .

5.1. Management.

5.1.1. Manager~. Jignesh N. Pandya is hereby appointed the sole manager of the
Company (the “Manager”). The Manager shall have liill, exclusive, and complete
discretion, power, and authority, subject in all cases to the other provisions of this
Agreement and the requirements of applicable law, to manage, control, administer, and
operate the business and affairs 'of the Company for the purposes herein stated, and to
make all decisions affecting such business and affairs No other Person shall have any
right or authority to act for or bind the Company except as permitted in this Agreement,
as required by law, or as expressly agreed to in writing by the Manager. '

5.1.2. general Powers. The Manager shall have the full power to execute and
deliver, for and on behalf of the Company, any and all documents and instruments which
may be necessary or desirable to carry on the business of the Company, inoluding,
without limitation, any and all deeds, contracts, leases, mortgages deeds of trust,
promissory notes, security agreements, and financing statements pertaining to the
Company’s assets or obligations, and to authorize the confession of judgment against the
Company. No person dealing with the Manager need inquire into the validity or
propriety of any document or instrument executed in- the name of the Company by the
Manager, or as to the authority of the Manager executing the same

5.1.3. Limitation on Au;thoritj[ of Members.

5.1.3.1. No Member is an agent of the Company solely by virtue of
being a Member, and no Member has authority to act for the Company solely by
virtue of being a'Member. No Member (other than the Manager) shall take part
in, or interfere in any manner with, the management conduct or control of the
business and affairs of the Company.

5.1.3.2. Any Member who takes any action or binds the Company
in violation of this Section 5.1 shall be solely responsible for any loss and expense
incurred by the Company as a result of the unauthorized action and shall
indemnify and hold the Company harmless with respect to any such loss or

expense

5.1.4. Resimtion of Managgr. The Manager may resign upon thirty (30) days
Written notice to the Members, after which notice the Members may elect a new

Manager.
5.2. M;e_etigg§ gf and Voting by Members. Unless required by law, meetings of the

Member’s need be held and there shall be no requirement for an annual meeting of the Members.
Meetings, however, if held shall be governed by this Section 5.2. ` '

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5.2.1. A meeting of" the Members may be called at any time by the Manager or
by those Members holding fifty-one percent (51%) or more of the Percentages then held
by Members. Meetings of Members shall be held at the Company’s principal place of
business or at any other place in Pennsylvania designated by the Person calling the
meeting. Not less than five (5) nor more than ninety (90) days before each meeting, the
Perso_n calling the meeting shall given written notice of the meeting to each Member
entitled to vote at the meeting. The notice shall state the time, place, and purpose cf the
meeting Notwithstanding the foregoing provisions, each Member who is entitled to
notice waives notice if before cr after the meeting the Member signs a waiver of the
notice which is filed with the records of the Members’ meetings, or is present at the
meeting in person or by proxy. Unless this Agreement provides otherwise, at a meeting
of Members, the presence in person cr by proxy of Members holding fifty-one percent
(51%) cr more of the Percentages then held by Members constitutes a quorum. A

_ Member may vote either in person or by written proxy signed by the Member or by`his
duly authorized attorney~in~fact. _

. 5.2.2. Except as otherwise provided in this Agreement, the affirmative vote of
Member’s holding fifty-one percent (51%) or more of the Percentages then held by
Members shall be required to approve any matter coming before the Members.

5. 2. 3. In lieu of holding a meeting, the Members may vote or otherwise take
action by a written instrument indicating the consent cf Members holding f fty-onc
percent (51%) or more of the Percentages then held by Members

5.2.4. .Except as otherwise provided ~in this Agreement, wherever the Law
requires unanimous consent to approve or take any action, that consent shall be given in
writing and, in all cases, shall mean, rather than the consent of all Members, the consent
cf Members holding fifty-one percent (51%) or more of the Percentages then held by
Members.

v 5.3. Personal when

_ 5.3.1. No Member shall be required to perform services for the Company solely
by virtue of being a Member. Unless approved by the Manager, no Member shall
perform services for the Company or be entitled to compensation for services performed

for the Company.

5.3.2. Upon the approval by Members holding fifty-one percent (51%) or more
of the Percentages then held by Members, the Manager shall be entitled to compensation
for services performed for the Company. Upon substantiation of the amount and purpose
thereof, the Manager shall also be entitled to reimbursement for expenses reasonably
incurred in connection with the activities of the Company.

5.4. Duti§s of Parties.

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5.4.1. The Manager shall devote such time to the business and affairs of the
Company as is necessary to carry out the Manager’s duties set forth in this Agreement.

5.4.2. Except as otherwise expressly provided in Section 5.4.3, nothing in this
Agreement shall be deemed to restrict in any way the rights of any Member, or of any
Aftiliate of any Member, to conduct any other business or activity whatsoever, and the
Member shall not be accoimtable to the Company or to any Member with respect to that
business or activity even if the business or activity competes with the Company’s '
business The organization of the Company shall be without prejudice to their respective
rights (or the rights of their respective Aftiliates) to maintain, expand, or diversify such
other interests and activities and to receive and enjoy profits or compensation therefrom.
Each Member waives any rights the Member might otherwise have to share or participate
in such other interests or activities of any other Member or the Member’s Aiiiliates.

5.4.3. Each Member understands and acknowledges that the conduct of the
Company’s business may involve business dealings and undertakings with Meinbers and
their Affiliates. ln any of those cases, those dealings and undertakings shall be at arm’s
length and on commercially reasonable terms _

5 .5. Liability and Indemification.

5.5.1. The Manager shall not be liable, responsible or accountable in damages
or otherwise,- t_o any Member or to the Company for any services perfonned by the
Manager within the scope of the authority conferred on the Manager by this Agreement
except for fraud or gross negligence _

5.5.2. The Company shall indenmify the Manager for any act performed by the
Manager within the scope of the authority conferred 'on the Manager by this Agreement,
except for fraud or gross negligence

5 .6. gower ofAttomey.

5.6.1. Grant of Rower. Each Member constitutes and appoints the Manager as
the Member’s true and lawful attorney-in-i`act (“Attomey-in-Fac ”), and in the Member’s
name, place and stead, to makc, cxecute,- sign, acknowledge and files

5.6.1.1. one or more Articles of Organization;

5.6.1..2 all documents (including amendments to the Articles of
Orga`nization) which the Attorney-in~Fact deems appropriate to reflect may
amendment, change, or modification of this Agreement; .

5.6.1.3. any and all other certificates or other instruments required

to be filed by the Company under the laws of the State of Connecticut or of any
other state or jurisdiction, including, without limitation, any certiiicate or other

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instruments necessary in order for the Company to cx)ntinue to qualify as a limited
liability company under the laws of the State of Connecticut;

5.6.1.4. one or more fictitious or trade name certificatcs; and

5.6.1,5, all documents which may be required to dissolve and
terminate the Company and to cancel its Articles of Organization.

5.6.2. lrrevocability. The foregoing power of attorney is irrevocable and is
coupled with an interest, and, to the extent permitted by applicable law, shall survive the .
death or disability of a Member. It also shall survive the Transfer of an lntercst, except
that if the transferee is approved for admission as a Member, this power of attorney shall
survive the delivery of the assignment for the sole purpose of enabling the Attomey-in-
Fact to execute, achiowledge, and file any documents needed to effectuate the
substitution Each Member shall be bound by any representations made by the Attorney-
in-Fact pursuant to this power of attorney, and each Member hereby waives any and all
defenses which may be available to contest, negate, or disaffirm the action of the
Attomey-in~Fact taken under this power of attomey.

Section VI.
Transfer of interests and Withdrawals of Membch

6.1. Rest.rictions on Tr_ansfer.

6.1.1. Except as otherwise provided in this Agreement, no Member, other than
Jignesh A. Pandya, may Transfer ail, or any portion of, or any interest or rights in, the
Membership Rights owned by the Member; and no Interest Holder may Transfer all, or
any portion of, or any interest or rights in, any Interest without the prior written consent
of the Manager. Each Member hereby acknowledges the reasonableness of this
prohibition in view of the purposes of the Company and the relationship of the Members.
The Transfer of any Membership Rights or lnterests in violation cf the prohibition
contained in this Section 6.1 shall be deemed invalid, null and void, and of no force or
effect Any Person to whom Membership rights are attempted to be transferred in
violation of this Section shall not (i) be entitled to vote on matters corning before the
Members, (ii) participate in the management of the Company, (iii) act as an agent of the
Company, (iv) receive distributions from the Company, or (v) have any other rights in or
with respect to the Membership Rights. '

.lignesh A. Pandya shall be permitted to transfer his interest without the

consent of any Member or Manager.

_ 6.2. Voluntary Withdrawal.. No Member shall have the right or power to Voluntarily
Withdraw from the Company without the prior written consent of the Manager,

6.3. thiongl Redemption in Event of lnvoluntary Withdrawal.

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6.3.1. If the Members elect to continue the Company after an Involuntary
Withdeal, the Withdrawn Member shall be deemed to oEer for sale (the “Withdrawal
_Q_ffe_r") to the Company all of the Membership Rights owned of record and beneficially
by the Withdrawn Member (the “Withdrawal Interest”).

6.3.2. The Withdrawal Offer shall be and remain irrevocable for a period (the
“Withdrewal _foer Pm`od”) ending at 11:59 p.m., local time, at the Company’s principal
office on the sixtieth (60th) day following the date the Members elect to continue the
Company. At any time during the Withdrawal Oti`er Period, the Company may accept
the Witlrdrawal Offer by notifying the Withdrawn Member (the “Withdrawal Notice”) of
its acceptance The Withdrawn Member shall not he deemed a Member or Manager for
the purpose of the vote on whether the Company shall accept the Withdrawal Oft`er.

’ 6.3.3. If the Company accepts the Withdrawal Offer, the Withdrawal Notice`
shall fix a closing date (the “Withdraw§ Clos'@g Date”) for the purchase which shall be

not earlier than ten ('10) or later than ninety (90) days after the expiration of the

Withdrawal Period. . '

6.3.4. If the Company accepts the Withdrawal Ot`fer, the Company shall

purchase the Withdrawal Interest for a price equal to the Book Value, as defined in
Section 6.7 (the “Withdra c 'ce”). The VVithdrawaI Purchase Price shall be

paid in cash on the Withdrawal Closing Date, unless the Remaining Member’s elect prior
to or on the Withdrawal Closing `Date to pay all or any portion of the Withdrawal
Purchase Price in installments as provided in Section 6.5 cf this Agreement.' ' '

6.3.5. If the Company fails to accept the Withdrawal Offer, then the
Withdrawing Member or the Withdrawing Member’s successor, as the case may be, upon
the expiration of the Withdrawal Offer Period, thereafter shall be required to sell the
Withdrawal Interest pursuant to Sect.ion 6.4.

_ 6.4. Mandatog[ Buy-out in Event of Involuntary Withdrawal.

6.4.1. lf the Members elect to continue the Company after an Involuntary
-Withdrawal and the Company fails to accept the Withdrawai Offer pursuant to -Section
6.3, the Members other than the With_drawn Member (“Remg'ging Meml_)_grs”) may
pmchase, and the Withdrawn Member shall sell the Withdrawal lnterest for a price equal
to the Withdrawal Purchase Priee. In the absence of a contrary agreement among the
Remaining Members, each Remaining Member may purchase the Withdrawal Interest in
the proportion that his respective Percentage bears to the total Percentages of all of the
Remaining Members. '

6.4.2. The Remaining Members, by written notice addressed to the Withdrawn
Member, shall fix the Withdrawal Closing Date for the purchase The Withdrawal
Closing Date shall not be earlier than ten (1.0) days or later than one hundred fifty (150)
days after the later of the date on which the Involuntary Withdrawal occurred cr the date
on which the Company received notice of the Involuntary Withdrawal.

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6.4.3. The Withdrawal Purehase Price shall be paid in cash on the Withdrawal
Closing Date, unless the Remaining Members elect prior to or on the Withdrawal Closing
Da'te to pay all or any portion of the W'thdrawal Purchase Price in installments as
provided in Section 6.5 of this Agreement. Sirnultaneously with the payment of the
Withdrawal Purchase Price and/or the delivery of the Remaining Members’ promissory
notes to evidence their respective obligations to pay the Withdrawal Purchase Price, as
applicable, the Withdrawn Member shall execute and deliver to the Rernaining Members
those assignments and other instrwnents as may be reasonably required to vest in the
Remaining Member’s all right, titlc, and interest in and to the Withdrawal lnterest, free
and clear of all liens and encumbrances, including, but not limited to, the certificate or
certificates evidencing the Withdrawal Interest, together with a power duly endorsed in
blank for transfer of the Withdrawal Interest to the Remaining Members.

f `6.5. Installment Buy-outs. If the Company or the Rexnaining Members, as the case
may be (the “Purchaser”), elect to pay all or any portion of the Withdrawal Purchase Price (the
“Indebtedness”) on an installment basis, the Purchaser shall pay the lndebtedness by executing
and delivering its or their promissory note to the Withdrawn Member.

6.6 Call Op`tion.

6.6.1 Each Member (other than ` the Manager) hereby unconditionally and
irrevocably grants to the Company an exclusive option to purchase all or any portion of
such Member’s Membership Rights (the “CQI Option , at the Company’s sole and
absolute discretion, in accordance with the terms and conditions set forth in this Section
6.6.

6.6.2 Each Member hereby acknowledges and agrees that the Call Option may
.be exercised by the Company at any time, for any reason and in its sole and absolute
discretion Up`on such exercise, the Company shall deliver a written notice to such
Member that the Company has exercised the Call Option.

6.6.3 Should the Company exercise the Call Option, the purchase price to be
paid by the Company for such Member’s Interest (the "Call Option Purchase Price”) shall
be the Book Value determined in the manner set forth in Section 6.6.4, divided by the
number of Interests outstanding less any amounts owed by such Member to the
Company. The Company shall pay the Call Option Purchase Price to such Member in
such manner as shall be determined by the Company in its sole and absolute discretion
Such Member shall execute and deliver any and all documents necessary to effectuate the
transfer of such Member’s lnterest to the Company, including, but not limited to, the
certificate or certificates evidencing such Member’s Interest, together with an interest
power duly endorsed in blank for transfer of the Interest to'the Company.

6.6.4 Each Member hereby acknowledges and agrees that such Member shall
have no put option With respect to such Member’s Interest.

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6.7. Book Value. The term “ngh Valu_e” means the book value of the respective
Member’s equity in the Company as of the end of the last hill taxable year immediately
preceding the year in which the event giving rise to the purchase and sale of the Membership
Rights or Interest occurred Notwithstanding anything contained in this Agreement to the
contrary, the computation of Book Value shall be subject to the following provisions:

6.7.1. Book Value shall not include any proceeds collected or collectible by the
Company, under any policy.or policies of life or disability insurance insuring the life or
disability of a Member, as a result of the death or disability cfa Member.

6.7.2. No additional allowance of any kind shall be made for the goodwill, trade
names, or any other intangible asset or assets of the Company other than the aggregate
dollar amount for any of those intangible assets appearing on the most recent balance
sheet of the Company prior to the date on which Book Value is to be determined

6.7.3. Book Value shall be determined by the accountants regularly employed by
the Company. The determination by the accountants shall, for purposes of this
Agreement, be iinal, conclusive, and binding upon each of the parties hereto.

_' Section VII.
Dissolution, Liquidation, and Termination of the Company
l 7. l. Even§ of Dis§olp;ion. The Company shall be dissolved upon the happening of
any of the following events: `

7.1.1: When the period fixed for its duration in Section 2.4 has expired;
7.1.2. Upon the unanimous written agreement of all ofthe Members;

7.1.3. Upon the occurrence of an lnvoluntary Withdrawal of a Member, unless
the remaining Members, within ninety (90) days alier the occurrence of the Involuntary
Withdrawal, unanimously elect to continue the business of the Company pursuant to the
terms of this Agreement; or

7.1.4 Upon the entry of an order ofjudicial dissolution under Section 8972 of
the Law.

7.2. Procedure for Winding Up and gissolution. If the Company is dissolved, the
Manager shall wind up its affairs On winding up of the Company, the assets of the Company

shall he distributed, first, to creditors of the Company, including Interest Holders and the
Manager who are creditors, in satisfaction of the liabilities of the Company, and then to the
Interest Holders in accordance with Section 4.4.

7 .3. Filing of £._r;ticles of D'issolution If the Company is dissolved, the Manager shall
file Articles of Dissolution with the Department of State of the State of Connecticut at the time

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set forth in the Law. It` there' 1s no Manager, then the Articles of Dissoluuon shall be filed by the
remaining Members; if there are no remaining Members, the Articles shall be filed by the last
Person to be a Member; if there' ts neither a Manager, remaining Members, or a Person who last `
was a Member, the Art:icles shall be filed by the legal or personal representatives of the Person
who last was a Member.

Section VIIl.
Books, Records, Aceounting, and Tax Elections

8.1. Bank Accounts. All funds of the Company shall be deposited in a bank account
or. accounts maintained in the Company’s name. The Manager shall determine the institution or
institutions at which the accounts will be opened and maintained, the types of accounts, and the
Persons who will have authority with respect to' the accounts and the iitnds therein

8.2. §oolcs and Records.

8.2.1. The Manager shall keep or cause to be kept complete and accurate books
and records of the Company and supporting documentation of the transactions with
respect to the conduct of the-Company’s business. The records shall include, but not be
limited to, complete and accurate information regarding the state of the business and -'
financial condition of the Company, a copy of the Articles of Organization and this
Agreement and all amendments to the Articles of Organization and this Agreement; a
current list of the names and last known business, residence, or mailing addresses of all
Members;_ and the Company’s federal, state, or local tax returns

8.2.2. Except as set forth in Section 8.4, each Member hereby irrevocably waives
any and all rights that such Member may have to receive information hom, and to inspect
the books and records of, the Company pursuant to the Law and any other laws
applicable to the Company.

8 3. Annual Accounting B§_r_igd The annual accounting period of the Company shall
be its taxable year The Company’ s taxable year shall be selected by the Manager, subject to the

requirements and limitations of the Code.

-8.4. l_lep_ort§. Within seventy-live (75) days after the end of each taxable year of the
Company, the Manager shall cause to be sent to each Person who was an Interest Holder at any
time during the taxable year then ended, such tax information concerning the Company which is
necessary for prepwing the Interest Holder’s income tax returns for that year.

8.5. Ta§ Matters Partner. The Manager shall be the Company's tax matters partner
(“Tax Matters Partn§r”). Ifthe Manager is not a Member, the Member designated by vote of a
majority in interest of the Members shall serve as Tax Matters Partner. The Tax Matters Partner
shall have all powers and responsibilities provided m Code Section 6231, et seq. The Company
shall pay and be responsible for all reasonable third-party costs and expenses incurred by the Tax
Matters Partner in performing those duties. A Member shall be responsible for any costs

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incurred by the Member with respect to any tax audit or tax-related administrative or judicial
proceeding against any Member, even though it relates to the Company. The` Tax Matters
Partner may compromise any dispute with the Internal Revenue Service without the approval of
the"Members.

8.6. Tax Elections. The Manager shall have the authority to make all Company
elections permittedmider the Code, including, _without limitation, elections of methods of
depreciation and elections under Code Section 754. The decision to make or not make an
election shall be at the Manager’s sole and absolute discretion -

8.7. Title to Company Prgp_erty.

8.7.1. Except as provided in Section 8.7.2, all real and personal property
acquired by the Company shall be acquired and held by the Company in its name. -

8.7.2. The Manager may direct that legal title to all or any portion of the
Company’s property be acquired or held in a name other than the Company’s name
Without limiting the foregoing, the Manager may cause title to be acquired and held in its
name or in'the names of trusteee, nominees, or straw parties for the Company. lt is
expressly understood and agreed that the manner of holding title to the Company’s
property (or any part thereot) is solely for the convenience of the Company, and all of
that property shall be treated as Company property.

Section IX.
General Provisions

9.1. Assurances. Each Member`shall execute all such certificates and other documents
and shall do all such filing, recording, publishing, and other acts as the Manager deems
appropriate to comply with the requirements of law for the formation and operation of the
Company and to comply with any laws, rules, and regulations relating to the acquisition
operation, or holding of the property of the Company.

9.2. Notiiication§. Any notice, demand, consent, election, offer, approval, request, or
other communication (collectively a “notice”) required or permitted under this Agreement must
be in writing and either delivered personally or sent by certified or registered meil, postage
prepaid, return receipt requested Any notice to be given hereunder by the Company shall be
given by the Manager. A notice must be addressed to an lnterest Holder at the lnterest Holder’s
last known address on the records of the Company. A notice to the Company must be addressed
to the Company’s principal oftice. A notice delivered personally'vvill be deemed given only
When acknowledged in writing by the person to whom it is delivered A notice that is sent by
mail will be deemed given three (3) business days after it is mailed.~ Any party may designate
by notice to ali of the others, substitute addresses or addressees for notices; and, thereafter,
notices are to be directed to those substitute addresses or addressees

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9.3. Sp§citic Perfon'nance. The parties recognize that irreparable injury will result
from a breach of any provision of this Agreement and that money damages will be inadequate to
fully remedy the injury. Accordingly, in the event of a breach or threatened breach of one or
more of the provisions of this Agreement, any party who may be injured (in addition to any other
remedies which may be available to that party) shall be entitled to one or more preliminary or
permanent orders (i) restraining and enjoining any act which would constitute a breach or (ii)
compelling the performance of any obligation which, if not performed, would constitute a ~

breach.

9.4. Complete Agreement. This Agreement constitutes the complete and exclusive
statement of the agreement among the Members. lt supersedes all prior written and oral
statements, including any prior representations statement, condition, or warranty. Except as
expressly provided otherwise herein, this Agreement may not be amended without the written
consent of all of the Members.

9.5. App licable Law. All questions concerning the construction, validity, and
interpretation of this Agreement and the. performance of the obligations imposed by this
Agreement shall be governed by the internal law, not the law of contlicts, of the State of

Connecticut

9.6. Section flfitles. The headings herein are inserted as a matter of convenience only
and do not deiine, limit, or describe the scope of this Agreement or the intent of the provisions

hereof.

9.7. ~ §inding Provisions. This Agreement is binding upon, and inures to the benth of,
the parties hereto and their respective heirs, executors, administrators, personal and legal

representatives successors, and permitted assigns

9.8.` Jurisdiction and Venue. Any suit involving any dispute or matter arising under
this Agreement may only be brought in the United States District Court of Connecticut or any
Connecticut court having jurisdiction over the subject matter of the dispute or matter. All
Members hereby consent to the exercise of personal jurisdiction by any such court with respect

to any such proceeding

9.9. Terms. Cornmon nouns and pronouns shall be deemed to refer to the masculine,
feminine, neuter, singular and plural, as the identity of the Pe_rson may in the context require.

9.10. arabilit of Prov‘ ions. Each provision of this Agreement shall be considered
separable; and if, for any reason, any provision or provisions herein are determined to be invalid
and contrary to any existing or future law, such invalidity shall not impair the operation of or
affect those portions of this Agreement which are valid. '

9.11. Estoppel Certiti@§. Each Member shall, within ten (10) days after written
request by the Manager, deliver to the requesting Person a certi§cate stating, to the Member’s
knowledge, that: (a_) this Agreement is in full force and effect; (b) this Agreement has not been
modified except by any instrument or instruments identified in the certificate; and (c) there is no

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default hereunder by the requesting Person, or if there is a default, the nature and extent thereof.
If the certificate is not received within that ten (10) day period, the Manager shall execute and
deliver the certificate on behalf of the requested Member, without qualification, pursuant to the
power of attorney granted in Section 5.6.

9.12. Coun@§_r§. This Agreement may be executed by the parties hereto on any
number of separate counterparts, and all such counterparts so executed constitute one agreement
binding on all the parties hereto notwithstanding that all the parties hereto are not signatories to
the same counterpart For purposes of this Agreement, a document (or signature page thereto)
signed and transmitted by facsimile machine or portable document file (“YE”) is to be treated
a_s an original document The signature of any party thereon is to be considered as an original
signature, and the document transmitted is to be considered to have the same binding cHect as an
original signature on an original document At the request 'of any party hereto, any facsimile or
PDF document is to be re-executed in original form by the parties who executed the facsimile or
PDF document No party hereto may raise the use of 1a facsimile machine or PDF or the fact that

`any signature was transmitted through the use of a facsimile machine or by PDF as a` defense to
the enforcement of this Agreement or any amendment or other document executed in compliance

_ with this Se'ction 9.12.
Section X.
Management Fee
l lO.l Managemcnt Fee. The Manager is hereby authorized to enter into any

management agreements for the operation of any of the Pizza Hut stores owned by the Company
and pay a Management Fee for such services rendered, all in the sole discretion of the Managers.

_ lN WITNESS WHEREOF, the parties have executed, or caused this Agreement to be
executed, under seal, as of the date set ibrth hereinabove

 

Ji s N. Pandya

Hshan J. Patel

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/»-- _ ' Limited Liability Company
` Operating Agreement

v Exhibit A
List of Members and Percentages

 

Name and Address

 

Percentages
Jignesh N. Pandya
1471 Hidden Pond Drive ' 75%

Yardley, PA 19067

 

 

Kishan J. Patel
395 New Dove; Road 25%
Colonia, NJ 07067

 

 

 

 

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